Case 3:19-cv-01587-L-BN Document 1 Filed 07/01/19   Page 1 of 29 PageID 1
Case 3:19-cv-01587-L-BN Document 1 Filed 07/01/19   Page 2 of 29 PageID 2
Case 3:19-cv-01587-L-BN Document 1 Filed 07/01/19   Page 3 of 29 PageID 3
Case 3:19-cv-01587-L-BN Document 1 Filed 07/01/19   Page 4 of 29 PageID 4
Case 3:19-cv-01587-L-BN Document 1 Filed 07/01/19   Page 5 of 29 PageID 5
  Case 3:19-cv-01587-L-BN Document 1 Filed 07/01/19        Page 6 of 29 PageID 6



and Border Patrol in the State of Texas whom had set up an internal checkpoint at

the Defendant Medical City Hospital in an attempt to unlawfully seperate

"families". The Defendants along with Defendant Texas Department ofFamilies

became one of 170 internal inland "Custom and Border Patrol Check Points"

calling their operation "LA". A misuse of power under 42 U.S.C. 1983 pretending

to be members of local law enforcement agencies acting as "peace officers" for

Customs and Border Patrol. The applicable two-year limitations period for this

action under Texas law states, determines the accrual date of a 1983 under.

"Walker v. Epps, 550 F.3d 407,414(5th Cir. 2008). The United States Fifth Court

of Appeals determined, "the limitations period begins to run' the moment the

Plaintiff becomes aware' that he has suffered an injury or 'has sufficient

information to know that he has been injured. See. Piotrowski. The Plaintiff was

unaware that the injury she suffered was due to the wrongdoings of City of Dallas

Police Officer Grimes and Defendant Texas Department of Family Protective

Service Torrie Miller due to a blatant violation under U.S. statute 42 U.S.C 1983.

Under U.S. Statute 42 U.S.C. 1983, Deprivation ofRights Under The Color of

Law---every person under the color of any statute, ordinance or regulation custom

usage any state territory, caused to be subjected any citizen of The United States to

the deprivation of rights of any privileges or immunities secured by The
 Case 3:19-cv-01587-L-BN Document 1 Filed 07/01/19            Page 7 of 29 PageID 7



Constitution shall be liable to the party injured in action at law. The Plaintiff

argues that the issue of statute of limitations that arises in this complaint should be

toiled. Plaintiff contends with the U.S. Courts regarding the multiple attempts the

Plaintiff filed Complaints to obtain justice in U.S. Courts regarding the

wrongdoings committed against her has no bearing and should have no bearing on

courts granting the Plaintiff equitable tolling of the statute of limitations. Plaintiff

contends that dismissing this Complaint and not granting equitable toll of statute of

limitations due Plaintiff litigation history is an Obstruction of Justice with sound

case law to back up such a claim would result in Court abuse of discretion. Plaintiff

further contends the Defendant is in violation of the Fourth Amendment of The

United States Constitution which states, "[t]he right of a person to be secure in

there persons,house, papers and effects against unreasonable searches and seizures

shall not be violated and no Warrant shall issue but upon probable cause supported

by Oath or affirmation and particularly describing the place to be searched and the

person or things to be searched and the person or things to be seized.

                                           18.

The Plaintiff contends that she was wrongfully held on the night of March 31,2013

without probable cause and the Defendants actions on the night of March 31 ,2013

was warrantless, unjustifiable and unreasonable.
  Case 3:19-cv-01587-L-BN Document 1 Filed 07/01/19       Page 8 of 29 PageID 8




                                       FACT

                                        19.

Defendant Medical City Hospital operates a Hospital Medical facility located at

7777 Forest Lane Dallas, Texas 75230. The medical facility includes an acute and

urgent care Emergency Department.




                                        20.

Defendant Texas Department of Family Protective Services, is a state of Texas

agency which investigates neglect of the elderly or of children.

                                         21.

Defendant City of Dallas, City of Dallas Police Department is a law enforcement

agency in the City of Dallas, Texas.

                                         22.

Defendant Marsh Mclennan Companies is a full service Global Insurance Risk

Management and Brokerage firm.
 Case 3:19-cv-01587-L-BN Document 1 Filed 07/01/19         Page 9 of 29 PageID 9


                                         23.

This Complaint arises out of a Mother's trip to the Emergency Department.

At no time was the Plaintiff Elaine Whigham Williams ever a part or affiliated with

any street gang. The Plaintiff was a licensed insurance professional for the state of

Texas and a Christian Minister. At all times the Plaintiff was a citizen of The

United States of America born in Ramapo, New York.

                                         24.

On January 14,2013 Plaintiff Elaine Whigham Williams began her employment

with Marsh Mclennan Companies located at 1717 Main St. Comerica Building

Dallas, Texas as a Senior Level Customer Representative. Several weeks after

employment, approximately around February 15,2013, Defendants Marsh

McLennans, Vice President Cynthia Hammond went on a 6 weeks leave of

absence leaving Plaintiff to be targeted and workplace bullied in the office in an

attempt to drive Plaintiff out of the workplace and to sabotage her employment

using intimidation and surveillance. The Defendant were successfully able to

Sabotage that employment on March 31,2013 when Defendants used Plaintiff visit

to Defendant's Medical City Hospital as a Custom and Border Patrol Internal

Checkpoint. The Defendants used Defendants Medical City Hospital as a" sensitive

location" as a means abuse power. Plaintiffs is informed and believes Defendant
Case 3:19-cv-01587-L-BN Document 1 Filed 07/01/19          Page 10 of 29 PageID 10



used Medical City Hospital and Defendant City of Dallas Officer Grimes, used the

facility to act as a Custom and Border Protection Agency, to seperate Children

from their families like an illegal migrant trying to cross the Mexico Border. In

this operation Custom Border Protection Agents used fabricated claim of "danger"

as reasoning for seperating families.

                                          25.

From approximately February 15,2013 to March 31,2013 Plaintiff resided at 12121

Coit Rd Dallas, Texas 75121 approximately one mile from Defendant Medical

City Hospital. At no times was any law enforcement called to Plaintiff residence

for any issues however, the Plaintiff on several occasions prior to the incident on

March 31,2013 Plaintiff saw The Defendant City of Dallas Police what appeared to

be in surveillance laying in wait near the Plaintiff residence.




                                          26.

During the time leading up to this incident on March 31 ,2013 Plaintiff a Senior

Level Customer Representative was trying to complete a 90 day probation with

Defendant Marsh McLennan Companies.
Case 3:19-cv-01587-L-BN Document 1 Filed 07/01/19          Page 11 of 29 PageID 11



                                          27.



The Plaintiff Elaine Whigham Williams, went from January 14,2013 to March

31,2013 and experienced weeks of workplace bullying which she believes

escalated to Community Mobbing Campaign because the Plaintiff was an African

American Black Female.

                                          28.

On March 31,2013 Plaintiff took her minor 12 year old son to Medical City

Hospital for Complaints of chest pains.

                                          29.

Plaintiff walked into Medical City Hospital and was triaged by the Emergency

Room Triage Nurse a white female. The Plaintiff told the Defendant Medical City

Hospital Triage Nurse that her son was having chest pains and the Plaintiff wanted

her son seen by a Physicians because the Plaintiff son had ran out of his medicines

for ADHD and the Plaintiff felt that this may be the reason for the Plaintiff son's

chest pains. The Plaintiff told the Defendant Triage Nurse that she had just moved

to the City of Dallas for a job and she did not have family in the area. Plaintiff is

informed and believes she was targeted by members of the Defendant Medical City

Hospital, Defendant City of Dallas Police Officer Grimes under the United States
Case 3:19-cv-01587-L-BN Document 1 Filed 07/01/19          Page 12 of 29 PageID 12



Border Patrol "Zero Tolerence" pretending like Plaintiff was a Migrant trying to

cross the U.S. Border in an internal "checkpoint" operation at Defendant Medical

City Hospital.




The Plaintiff talked to the triage nurse regarding a strange event during a a trip to

Houston Texas where a two Hispanic men's allowed blood to drip from their finger

in a ritualistic ceremony on the City of Houston City Bus.

                                          29.

At no time did the Plaintiff an Professional African American Female make

mention of Demons or sacrifices.

                                          30.

The Plaintiff explained to the Defendant Medical City Hospital triage Nurse that

her son was being bullied in school and the Plaintiff also stated to the Defendants

nurse that she was experiencing some workplace bully and mobbing on the job

 The Plaintiff who was also a Christian Minister was carry a Bible to read. The

Bible made a comment to the Nurse, that it was "nothing but the devil".

                                          31.
Case 3:19-cv-01587-L-BN Document 1 Filed 07/01/19          Page 13 of 29 PageID 13



At all times and place the term, "Nothing but the Devil" is a common phrase and is

not probable cause for Defendants apprehension without a warrant.




                                          32.

At no time or place was the Plaintiff biligerent, hostile,over emotional or

disruptive.Plaintiff son was admitted into the Defendant Medical City Hospital

emergency department and Plaintiff and her son was placed in a ER room.




                                          33.

Plaintiff waited for extended amount of time for the Defendants physician to see

her son for chest pains and the Plaintiff decided to wait till the next day to see a

clinic physician at a urgent or family care center.

                                          34.

When Plaintiff informed the Defendant Medical City Hospital nurse that she would

like to sign out an Officer Grimes of Defendant City of Dallas Police Office

walked into room on duty, wearing his badge, wearing and police uniform and told
Case 3:19-cv-01587-L-BN Document 1 Filed 07/01/19         Page 14 of 29 PageID 14



Plaintiff she could not leave and separated Plaintiff from her minor child. The

Plaintiff was told she was being "detained" by Officer Grimes who introduced

himself as City of Dallas Police Officer.

                                            35

Defendant City of Dallas Police Office and Defendant Tory Miller told Plaintiff

she was being seized and could not leave the Hospital because, the Plaintiff carried

a Bible, said " God BlessYou" and because Plaintiff asked if the Physician could

refill her sons medication for hyperactivity until Plaintiff new to Dallas could find

her minor child a primary Pediatrician. Plaintiff is informed and believes she was

detained to be used in a operation under Custom Border Patrol Checkpoint.

                                            36.

Plaintiff is informed and believes that Defendant City of Dallas Police,Officer

Grimes targeted Plaintiff because Plaintiff was a single black female as an

opportunity to abuse power.

                                            37.

Plaintiff is informed and believes that Officers Grimes of Defendant City of Dallas

Police Department held her without probable cause. The element of probable

cause is required before the police can make a arrest, conduct a search or receive a

warrant. Courts have found probable cause where there is reasonable basis that a
Case 3:19-cv-01587-L-BN Document 1 Filed 07/01/19        Page 15 of 29 PageID 15



crime has been committed. The element of exigent circumstances, warrantless

arrest are justified when entry is necessary to prevent physical harm under

circumstances that would cause a reasonable person to believe entry was

necessary. Defendant Officer Grimes and Defendant Torrie Miller of Texas

Department ofFamily Protective Services actions lack the element of legitimate

law enforcement efforts.

                                        38.

Plaintiff is informed and believes that Defendant City of Dallas Police Officer

Grimes, Defendant Torrie Miller of Texas Department of Family Protective

Services and Defendant Medical City Hospital where not acting on March 31,2013

out of legitimate law enforcement efforts.

                                        39.

At approximately 9:00pm to 9:45pm on March 31,2013 Defendant Texas

Department of Family Protective Service Officer Torrie Miller working with

Defendant City of Dallas Office admitted in sworn affidavits that he was called

by,"LA".

                                        40.

Plaintiff is informed that Defendant City of Dallas Police Officer Grimes was a
Case 3:19-cv-01587-L-BN Document 1 Filed 07/01/19       Page 16 of 29 PageID 16


member of a White Supremacist Secret Organization deeply ceded in the City of

Dallas Police Office whom call themselves "LA". The group "LA" is a deputy

gang made up of White Nazis who abuse power and terror communities. Officer

Grimes Officer Grimes was a member of a neo-Nazi White Supremacist gang. The

Group LA is a internal agency operating in sensitive internal Custom and Border

Patrol checkpoint against Black African Americans. In an attempt to treat African

Americans like an illegal immigrant.

                                       41.


In his Report Defendant Texas Department of Family Protective Service Officer,

Torrie Miller states, "LA" requested CPS involvement.

                                        42.




In his sworn affidavit Defendant Texas of Family Protective Services Torrie Miller

openly admits to wrongdoing and abuse of power. The Defendant Texas

Department of Family Protective Services Torrie Miller openly admits that the

Plaintiff was unlawfully held.




                                        42.
Case 3:19-cv-01587-L-BN Document 1 Filed 07/01/19        Page 17 of 29 PageID 17


Plaintiff is informed and believes Defendant City of Dallas Police Officer,

Defendant Texas Department of Family Protective Service. On October 27, 2016

received a letter from Defendant Medical City Hospital, Risk Manager, Tammy

Luther with the following statement of the actions of Defendant City of Dallas

Police Officer Grimes acting under the Color of Law which proves, Defendant

violation of the Plaintiff Fourth Amendment Right,(1) you were requesting

prescription refills for you and your son's anxiety medication. (2) you were

"talking" about demons and sacrifices. (3)* "the hospital staff" and "the peace

officer" detained "you under an Apprehension by Police Officer Without a

Warrant. (4)Concerned about you and your son's safety. Plaintiff is informed and

believes that Defendant Medical City Hospital, Risk Manager Tammy Luther

identified Defendant City of Dallas Police Officer Grimes as a"Peace Officer"

because he was falsely acting in the line of duty on March 31,2013 as a member of

Custom and Border Patrols, "Peace Officers".




                                        43.

In news media began reporting incidents of corruption and misconduct involving

white supremacist police deputies and secret police and police gangs operating out

of local city and state police departments as Custom and Border Patrol Agents
Case 3:19-cv-01587-L-BN Document 1 Filed 07/01/19        Page 18 of 29 PageID 18



calling themselves LA. using Custom and Border Protection Agents to seperate

families.

                                         44.

As a direct and proximate result of Defendants conduct,Plaintiff is informed and

believes that the Defendants conduct on March 31 ,20 13 led to the Death of her

Step Mother Hattie Mae Bailey who died on December 9,2017 from a broken heart

because the Defendants wrongful conduct on March 31 ,20 13 and due to the

Plaintiff unlawful separation from the Plaintiff son who was Hattie Mae Bailey

beloved grandson. Hattie Mae Bailey died waiting for the opportunity to see her

beloved grandson and cling to that hope until she took her last breath. Asking

"Lane have you talked to Cayman and where is Cayman".

                                         45.

As a direct and proximate result of Defendants violation of the Plaintiffs rights

under the Fourth Amendment and under United States 42 U.S.C. § 1983, the

Plaintiff has suffered emotional distress, loss of standing on community, damage to

reputation, loss of income and damage to future relationships.


                                   46.
                            STATEMENT OF FACT
 Case 3:19-cv-01587-L-BN Document 1 Filed 07/01/19        Page 19 of 29 PageID 19



The Plaintiff is suing the Defendant's for Deprivation ofRights under The Color of

Law 42 U.S.C. 1983 and for monetary damages. The Defendants Texas

Department of Family Protective Services and City of Dallas Police Department

depreviated the Plaintiffs rights and privileges secured by Fourth Amendment of

The United States Constitution. The Fourth Amendment of The United States

Constitution is, "the right of the people to be secure in their persons, house,

papers and effects against unreasonable searches and seizures, shall not be

violated, no warrant shall issue but upon probable cause supported by Oath and

Affirmation"

Defendants on March 31,2013 violated the Plaintiff Fourth Amendment Right.

Plaintiff demands judgment in the amount of $35,000,000.00. The Plaintiff lost

wages, unnecessary medical cost, emotional distress, loss of prestige, humiliation

and loss of family support.




                                  COUNT ONE:
                                  42 u.s.c 1983
                                Deprivation of Rights

                                         47.
Plaintiff incorporates herein paragraph 1 through 46 of her complaint.

                                          48.
Case 3:19-cv-01587-L-BN Document 1 Filed 07/01/19        Page 20 of 29 PageID 20



The Defendant Texas Department of Family, Torrie Miller and Defendant City of

Dallas Police,Officer Grimes, where state actors acting under the color of law.

Defendants Texas Department of Family Protective Services and City of Dallas

Police have engaged in.

                                        49.

The Defendant Texas Department of Families, Defendant Medical City Hospital

and Defendant Officer Grimes on March 31 ,2013 had set up a Customs and

Border Control "internal" checkpoint at Defendant Medical City Hospital.

Defendant Texas Department of Family Protective Services and Defendant City of

Dallas Police Office acts violates United States Statute 42 U.S. 1983.

Defendant acts have caused Plaintiff to suffer loss of pay, loss of family, emotional

distress, loss

                                         50.

Defendant has engaged in Deprivation of Rights under the Color of Law

                                  COUNT TWO


      Violation of The Fourth Amendment of The United States Constitution


                                         51.

Plaintiff incorporates herein Paragraph 1 through 46 of her Complaint
Case 3:19-cv-01587-L-BN Document 1 Filed 07/01/19        Page 21 of 29 PageID 21



                                        52.

Defendant Texas Department of Family Protective Services and City ofDallas

Police and Defendant Medical City Hospital have engaged in the Violation of the

Fourth Amendment of the United States Constitution.

                                         53.

Under the Fourth Amendment of The United States Constitution,[t]he right of the

people to be secure in persons,houses,papers and effects against unreasonable

searches and seizures,shall not be violated, no warrant shall issue, but upon

probable cause supported by an oath of affirmation.

                                         54




The Defendant's action is the proximate cause of emotional distress,character

standing in Community, the Plaintiff suffered with harassment as a direct result of

Defendants actions and deliberate indifference to Plaintiffs rights secured under

the Fourth Amendment of The United States Constitution.




                             PRAYER FOR RELIEF
Case 3:19-cv-01587-L-BN Document 1 Filed 07/01/19        Page 22 of 29 PageID 22




Wherefore, Plaintiff prays for relief as follows:

   1. That the Court require Defendants Texas Department ofFamily Protective

      Service and City Dallas Police Department render a public apology to the

      Plaintiff;

   2. That the Court require Defendant Texas Department of Family Protective

      Service to throw out falsified case in Texas District Court under Complaint

      No. 1300354W;

   3. That the Court grant Plaintiff Compensatory Damages for $35,000,000.00

       for humiliation,emotional distress and all other damages caused by all

      Defendants;

   4. That the Court grant Plaintiff punitive damages;

   5. That the Court grant Plaintiff all her salary and employment benefit that she

       would have enjoyed had she not been.

   6. That the Court grant Plaintiff a trial;

   7. That the Court grant all other relief deemed just and proper.
Case 3:19-cv-01587-L-BN Document 1 Filed 07/01/19   Page 23 of 29 PageID 23




This day of June 28, 2019




                        Elaine Whigham
                                 Po Box 13012
                           2700 Buford Highway #25
                             Atlanta, Georgia 30324
                                 (404 )782-9186
                         elainewwilliams@yahoo.com
Case 3:19-cv-01587-L-BN Document 1 Filed 07/01/19   Page 24 of 29 PageID 24
    Case 3:19-cv-01587-L-BN Document 1 Filed 07/01/19   Page 25 of 29 PageID 25


•




     THE UNITED STATES DISTRICT COURT NORTHERN DISTRICT OF
                             TEXAS
                        DALLAS DIVISION




    Elaine Whigham Williams,
              Plaintiff



             v.       Case No.
Case 3:19-cv-01587-L-BN Document 1 Filed 07/01/19           Page 26 of 29 PageID 26




City of Dallas
Texas Department of Family Protective Services
Medical City Hospital
Marsh Mclennan Companies,
              Defendant




                         REQUEST FOR TRIAL BY JURY



Plaintiff request Trial by Jury on all issues so triable.



This 29th day of June,20 19




                              Elaine h'
                                    Po Box 13012
                              2700 Buford Highway #25
                                Atlanta,Georgia 30324
                 Case 3:19-cv-01587-L-BN Document 1 Filed 07/01/19                                               Page 27 ofRECEIVED  29 PageID 27
JS   ~4   (Rev. Oo·J7)- T:\l\lJ IRev. 06'17)
                                                                                         CIVIL COVER SHEET                                                   -·I
The JS 44 Clv!l cover sheet and the mformation contained herein neither replace nor supplement the filmg and service of pi ading or ot;terapers as required by r'aw,                                                         except as
provtded by !c.;:,.! rules of court Th1s fonn, apprO\ed by the Jud1cial Conference of the United States m September 1974. 1 reqUI d for                                                       us<;;.llffh~of C           un for the
pmpose of miuatmg the ciV!l docket sheet (SEE JNSTR( 'CTJONS ON NEXT PAGE OF THIS FORJ1)                                                                                                                  (UI\:1
L (a) .,PLAINTIFFS                                                                                                        DEFENDANTS
Elaine Whigham Williams                                                                                                 Texas Department of Fa
                                                                                                                        Hospital & Marsh McLe

     (b) County of Residence of First Listed PlaintilT                     Fulton
                                                                            -------------------                           County of Residence of First Listed Defendant                            Dallas--------···---------
                                    (EXCEPT IN U.S PLALVTJFF CASES)                                                                                         liN (iS PLAINTIFF CASES ONLY!
                                                                                                                          NOTE:         IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                        THE TRACT OF LAND INVOLVED.


     (c) Attorneys (Finn Name .. 4ddrcss. and TeLcphone N11mber)                                                           Attorneys (!(Known)




II. BASIS OF JURISDICTION (Ptacean"X"inOneBoxOn(r!                                                         Ill CITIZENSHIP OF PRINCIPAL                                            PARTIES1Piacean "X'inOneBoxforPlaintiff
                                                                                                                    (For Dit·ersuy Cases On(v)                                                        and One Box for Do~fi!ndant)
:J 1      L.. S. GoYernment              M3       Federal Question                                                                           PTl'             DEF                                                    PTF         DEF
            Plaintiff                               (L ·.s. Gnn:>rnmem Not a            Par~y)                 Citizen ofThb State            01               0        I        Incorporated nr Principal Place       ::J 4     IX 4
                                                                                                                                                                                   of Business Jn Thi-; Stale

,    2    C.S. Government                r'1 -+   Diversity                                                    Clti7cn or Another State                       n         2        Incorporated anJ Principal Plac:c          '1 5        n 5
             Dcf'cndant                             (Indicate   Citi~enship      ofParrh:s in Item TIT)                                                                             of Business In Another State

                                                                                                               Citizen or Subject of a            n           n         3        Foreign Kation                             '1 6        '16


IV NATURE OF SUT rP· tace au                        "X'' in One Box        On~r)                                                                               cr      IC kh ere f or: N'at"urc ,J    ~tur      Ol~   I c~crJ_ptton~.
             CONTRACT                                               ::,,.,,. d;tllRTS                                                     AI:AP!r".          ,.,.,.,:'iBAISKRitJHTC l{                         OTHER STATtTES
::J 110 Insurance                           PERSONAL INJURY                        PERSONAL INJURY             ::J 625 Drug Related Seizure             0 422 Appeal28 USC !58                       0 375 false Claims Act
'1 120 Marine                           0 31 0 Airplane                        0 365 Personal Injury -                 of Property 21 USC Sill          0 423 \Vithdrawal                            0 376QuiTam[31 USC
:J L'O Milkr Act                        ::J 315 Airplane Product                       Product Liability       ::J 690 Other                                  28 usc !57                                     3729(a))
'1 140 .Ne~otiable Instrument                    Liability                     :J 367 Health Care/                                                                                                   0 400 State Reapportionment
0 !50 RcCO\Cf) of Overpayment           0 320 Assault Libel &                          Pharmaceutical                                                       PR:                                      :J 410 Antitrust
        & Enforcement of Judgment                Slander                               Personal Injury                                                  0 820 Copyrights                             0 430 Banks and Banking

,
:J !51 Medicare Act
    152 Reco' ery of Default~d
                                        :J 330 Federal Employer>
                                                 Liability
                                                                                       Product Liability
                                                                               :J .168 Asbestos Personal
                                                                                                                                                        0 830 Patent
                                                                                                                                                        0 835 Patent- Abbreviated
                                                                                                                                                                                                     :J 450 Commerce
                                                                                                                                                                                                     :J 460 Deportation
        Stud~nt Loans                   0 3~0 Marine                                    lnj ury Product                                                        1\ ew Drug Application                0 4 70 Racketeer lnt1uenced and
        ([x.cludes \'~terans}           :J 345 Marine Product                           Liability                                                       :J 840 Trademark                                     Comtpt Organizations
0 153 Reco' ery of 0Yerpayment                   Liability                        PERSOI'IAL PROPERTY                                                                       >\                       0 480 Consumer Credit
        of Veteran's Bcndits            n 350 Motor Vehicle                    n 370 Other Fraud               n  710 Fair Labor Standards              n  861     HIA ( 1395ff)
                                                                                                                                                                                          "          n 490 Cable/Sat TV
'1 1~0 Stockholder..;· Snih             n ]55 Motor Vehicle                    n 3 71 Truth in Lending                Act                               n 862      Black Lung (923)                  n 850 Securitic~/Commoditie:-.1
0 I 90 Other Contract                           Product Liability              ::J 380 Other Personal          :J 720 Labor/Management                  0 863      DJWC/DI\\'W (405/g))                      Exchange
n   195 Contract Product Liabilit:·     ::J 360 Other Personal                         Property Damage                  Relation~                       :J 864     SSID Title XV l                   :J 890 Other Statutory Actions
0 l Cl6 franchise                               Injury                         ::J 385 Property Damage         0 740 Railway Labor Act                  0 865      RSl (405(g))                      n 891 Agricultural Acts
                                        "1 362 Personal injury-                        Product Liability       0 751 Family and Medical                                                              0 S93 EnYironmernal -Matters
                                                Medical Malpractice                                                     Leave Act                                                                    0 895 Freedom of Information
          REAL PROPERTY                      CIVIL;                              y                 lTIO!iiRZ01:1 :J 790 Other Labor Litigation          Li()i> FED~ TA.X:'SUITS                              Act
0 210 Land Condemnation
:-1 220 Foreclosure
                                        ~ 440 Other Civil Rights
                                        I 441 Voting                           -,
                                                                                     Habeas Corpus:
                                                                                     46.1 Alien Detainee
                                                                                                               0 791 Employee Retirement
                                                                                                                        Income Security Act
                                                                                                                                                        :J 870 Taxes (U.S. Plointiff
                                                                                                                                                                   or Defendant)
                                                                                                                                                                                                     ,,
                                                                                                                                                                                                     8 :-596 Arbitration
                                                                                                                                                                                                        ~99 Adminl.;;tnttive Procedure
0 230 Rem Lease & Ejectment             ::J 442 Employment                     ::J   510 Motion~ to Vacate                                              0 871 IRS-Third Party                                Act/Review or Appeal of
0 240 Torts to Land                     ::J 443 Housing·                                  Sentence                                                                 26   usc 7609                             Agency Decision
CJ 245 Tort Product Liahility                   Accommodations                 ::J   530 General                                                                                                     0 950 Constitutionality of
::J 290 All Other Real Property         "1 445 Amer. w /Disabilities -         ::J   53 5 Death Penalty       IUHC'     !MJH&RATI0\11'::;,r                                                                  State Statutes
                                                l:tnployment                         Other:                    0 462 Naturalization Application
                                        0 -146 Amcr. w/Disabilitics-           ::J   540 Mandamus & Other      0 465 Other Immigration
                                                Other                          ::J   550 Civil Rights                Actions
                                        ~ 448 Education                        ::J   555 Prison Condition
                                                                               0     560 Civil Detainee-
                                                                                          Conditions of
                                                                                          Confinement

V. ORIGIN'              (Place an "X" in One Bur Onlr)
)( I      Original            ::J 2 Rcmo' cd from               0      3      Remanded from               0 4 Reinstated or         0      Transferred from                      0 6 Multidistrict                 IJ H Multidistrict
          Proceeding               State Court                                Appellate Court                 Reopened                     Another District                          Litigation -                       Litigation-
                                                                                                                                           (.,peci[ri                                   Transfer                       Direct File
                                            Cite the U.S. Civil Statute under which you arc filing (Do not citejurisdictional statutes unless diver>ityl:
VI. CAUSE OF ACTION                        1-::Brief
                                               4
                                                :-:::~~U::-::S~C~.1 9 83
                                                                   :. .: ~~------------------------------­
                                                       description of cause:

VII. REQUESTED IN     0 CHECK IF THIS IS A CLASS ACTIO~                                                               DEMAND$                                           CHECK YES only if demanded in complaint:
     COMPLAINT:          U:--JDER RULE 23, F.R.Cv.P.                                                                                                                    JURY DEMA.l"JD:                     ]'(Yes         DKo
Vlll. RELATED CASE(S)
                       (See /nstruction.s):
      IF ANY                                JUDGE                                                                                                           DOCKET KCMBER
DATE                                                                                 SIGNATURE OF ATTORNEY OF RECORD


FOR OFFICE liS I': ONLY

     RECEfPT-"                      AMOUJ\T                                               APPL YTNG TFP                                  JUDGE                                         MAG. JUDGE
                                                                                                                                                                                                          -·   --~-~----------
Case 3:19-cv-01587-L-BN Document 1 Filed 07/01/19        Page 28 of 29 PageID 28



Elaine Whigham Williams
2700 Buford Hwy#25
Po Box 13012
Atlanta,Georgia 30324

June 29,2019

U.S. District Court Northern District of Texas
Attn: Clerk of Courts
1100 Commerce St. #1452
Dallas, Texas 75242



Re: Original filing Elaine Whigham Williams v. Texas Department of Family
Protective Services

Please find enclosed the original complaint for the above subject with the special
request of statute of limitations to toll the statute arising out of claim under 42
U.S.C. 1983. The enclosed also closed request for the granting of partial informa
Pauperis (reducing fee) to file complaint in the high Court ofTexas.

If you have any questions regarding the enclosed please use any of the following
means of contact via U.S.Mail, by telephone at 404-782-9186 or vis email at
elainewwilliams@yahoo.com.



Ref~fully subm'


(ji)/J
Elaine Whigham William's
Case 3:19-cv-01587-L-BN Document 1 Filed 07/01/19                                                                  Page 29 of 29 PageID 29




            '
                          ..,.. ..... .....,,,...,
                  .J',/J~'f/fl;fft'ft/0              m   ~r~
                                                                                         ..,.. ..... ....,,,...,
                                                                                 woo'Bdsn I" sn 1/SfJ-
                                                                                                                    Iii<

                                                                                                                                                   ~,f.POSTAGE PAID




           ............
                                                                                                                                                   AM{if'X,GA



            ;,;~lfibliL-.~;,;;l:&i !!                                                                                         \\1\\\\              ll5lli                  ~
                                                                                                                                                             9
                                                                                                                                                                       .

                                                                                                                                                      $0.00
                                                         ~                                                           ~~
                                                                                                                                                    R2304E1 08170-34
                                                                                                                                      75242                                              __;f
                                                     A   I
                                                                                                                       ~    r1   A IL         *                   -POST& SERVICE•

                                                                                                                                                                       ORDER us
                                                                                                                                                                       VISIT FREEAT USPS.ONUNE'
                                                                                                                                                                                  SUPPLIES COM
                                                                                                                                                                                                   J05'<UATI1H



                                                                                                                     FROM:
                       1lliJ       DATE OF DELIVERY SPECIFIED*                                                         el.fuY\J.-. ~ kru-n                        t-0 ,[1~
                  .:    ~          USPS TRACKINGTM INCLUDED*                                                               fO ·BOx· 130R2
                         $        JNSURANCE INCLUDED*                                                                  ;)_100        Bofv{ol ~ ~ '25
                       ~           PICKUP AVAILABLE
                                   * Domestic only
                                                                                                                           #l~ 1               c;A     ro59--t
                                                                                                                                                         . RE EIVED                           I
                                                                                                                                                             '                         1
                                                                                                                                 TO:                              JUl :.. I 2019              !

                                                                                                                            u ').     Dl~ (_{- ' < JRT ~~DISTRICT OFI~XA :
                                                                                                                             0 s\"Y I c.J- ot je;><CL) .              . --


                  ~
                       WHEN USED INTERNATIONALLY,
                                      --~--    - ...-~ -'"ATIAN

                       -EXPECTED DI!LIVEFIY DAY:
                          USPS TRACKING NUMBER
                                                                  07/01/19
                                                                                                                   L        -Prt\1'1: C\.e r \L d c:o.xH
                                                                                                                            l \ 0 o c_omm.lj"OZ.. '3t" ;Q; 14 'S2.
                                                                                                                                                                                                                 ._j
                                                                                                                                                                                                                  · "' J
                                                                                                                                                                                                                           '
                                                                                                                                                                                                                          -r-.
                                                                                                                            Q;;?.\I0..'\. 1 '"'\e...l\o. ~       (S'LL\1-

                llllllllllllllllllllllllllll/11                   08
                                                                                                                     Label228, March 2018           FOR DOMESTIC AND INTERNATIONAL USE
                                                                                                                                                                                                                    d
                                                                                                                                                                                                                   J'




                       llllllllllllllllllmllllllllllllllll             EP14F July 2013                         VISIT US AT USPS. COM•                                                 iiiiii!!!!f'!!l UNITED STIJ.TES .
                         PS00001000014                                 OD: 12.5 X 9.5                          ORDER FREE SUPPLIES ONLINE                                           . J!iiipOSTIJ.L SERVICE.
